Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 1 of 17




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

              Troy Clowdus



                                   PLAINTIFF

              VS.                                            Civil Action No.: 1:21-cv-23155-MM

              American Airlines Inc.,



                                   DEFENDANT.


         PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
                                   SANCTIONS

          Plaintiff TROY CLOWDUS, by and through undersigned counsel, hereby moves this

   Court to reject Defendant’s Motion for Sanctions and to award the Plaintiff his legal fees for

   opposing this motion.

                                                 Introduction

          1. The instant matter arises from an allegation of assault against the Plaintiff by an

              American Airlines flight attendant, which resulted in the Plaintiff being removed

              from the plane and banned for life from flying with the Defendant air carrier.

          2. Federico Quintana (a primary subject of Defendant’s motion) was a business class

              passenger who allegedly witnessed the incident.

          3. Defendant’s counsel is on ethical quicksand with respect to Federico Quintana, and

              how he protected, cultivated and ultimately presented this witness to the Plaintiff as a

              disinterested third-party when he was anything but that.


                                                      1
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 2 of 17




        4. The Plaintiff is currently working on a motion to compel American Airline’s

           communications with this witness. As such, Defendant’s counsel seems to be of the

           mind that a strong offense is the best defense.

        5. Plaintiff’s counsel is confident that his behavior towards both Federico Quintana and

           his mother has been unimpeachable. As such, the Plaintiff will not spend time

           engaging with the charade of legal argument that the Defendant offers. The Plaintiff

           will fully explain the facts and circumstances of these witnesses and will provide the

           Court with every attempted communication that the Plaintiff has had with them. The

           Court can decide based upon ethics and common sense whether the Plaintiff’s

           attorney has crossed a line or been anything less than professional or cordial with

           these witnesses.

         Background on Discovery Dispute and Witnesses Defendant Seeks to “Protect”

        6. The details are involved and the Plaintiff will expand on them below, but the crux of

           the matter is that both Defendant’s counsel and the witness Quintana led the Plaintiff

           to believe that Mr. Quintana was a disinterested third-party witness – not explicitly

           with outright lies, but certainly implicitly in how questions were asked, answered, and

           evaded. It turns out, he was not.

        7. The Plaintiff’s counsel was sand-bagged at the Quintana deposition, expecting an

           impartial witness and encountering unexpected hostility and advocacy for AA. It was

           strange enough that the Plaintiff hired a private investigator to seek whether Quintana

           had ties with a flight attendant on the flight that morning or with AA in general.

        8. The investigator discovered evidence that Mr. Quintana, in fact, had very significant

           ties to American Airlines through his mother’s death benefits, and was in fact likely


                                                   2
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 3 of 17




            flying in business class that day for free. When asked about flying business class that

            day, Quintana merely said that his mother buys his tickets for him. When asked if he

            was flying on a “buddy pass,” Quintana (and AA) left Plaintiff to believe that his

            mother had instead paid for his ticket. (Exhibit A)

        9. Now in its motion, for the first time, AA casually admits that Quintana was, in fact,

            flying on a “buddy pass.”

        10. If American Airlines was actually concerned about the inconvenience of this lawsuit

            to Quintana and his mother, as its motion purports to be, it would have volunteered

            and agreed to stipulate to all of the connections that it has with this family, rather than

            leaving them to the Plaintiff to uncover with investigators and attempted subpoenas.

                    Good-Faith Basis for Believing Witness Quintana was Untruthful

        11. The Plaintiff has a very good-faith basis for believing that Mr. Quintana provided

            untruthful testimony for the benefit of American Airlines, which provides him (we

            now know for certain) with essentially free air travel, and we also suspect free health

            care.

        12. Mr. Quintana, seated three rows back in a window seat across the aisle, claimed to

            have closely watched the Plaintiff from the moment that he boarded, and overheard

            three interactions where he alleges the flight attendant spoke to the Plaintiff about his

            mask, 1 though no other party makes similar claims. 2 Then, when the incident

            occurred, and Mr. Quintana was, by his own words, paying very close attention, he




      1 Describing in detail a mask that Mr. Clowdus has never owned.
      2
        Mr. Clowdus boarded first and had one of his two interactions with the flight attendant
      upon boarding. Quintana claims that he boarded last, but still witnessed and recounted three
      negative interactions between the flight attendant and Mr. Clowdus.
                                                     3
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 4 of 17




             witnessed the incident in exquisite detail, 3 but he conveniently (since it would

             establish the crucial publishing prong required in Plaintiff’s defamation claim)

             claims that he didn’t hear the three cries of “YOU HIT ME!” that were loud enough

             to bring a co-worker in from the jet bridge to see what was going on. (Exhibit B, C)

          13. There are only two rational possibilities to derive from this testimony: either

             Quintana was not paying attention whatsoever and fabricated his testimony out of

             whole cloth, or he was paying some attention and was somehow led to understand

             that he should “forget” the portion of his recollection that had to do with the most

             dramatic moment of the incident – when the flight attendant cried “YOU HIT ME!”

          14. At deposition, Plaintiff’s counsel asked Mr. Quintana if he would voluntarily, after

             the deposition, send the Plaintiff the record of his communications with AA and any

             statement that he had prepared for AA prior to the deposition. Quintana said he

             didn’t know if he would, and then he avoided and ignored every effort on the

             Plaintiff’s part to obtain the communications before he left for Mexico. (Exhibit D)

                        American Airlines’ Likely Motivation with this Motion

          15. AA likely files this motion because it does not want to see the Plaintiff depose

             Quintana’s mother and establish as evidence in this case that Quintana was a

             prejudiced witness. And AA really does not want to see the Plaintiff get every inch

             of mileage at trial that he will from the way in which AA attempted to sell this

             witness as an impartial arbiter, when in fact he was as compromised as any employee

             with the self-interested motive of keeping his employer happy. The jury had the right



      3
        Videos taken subsequently cast extreme doubt on the ability of him to have observed either
      the Plaintiff’s eyes or the bag making contact from where he was sitting.
                                                      4
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 5 of 17




           to be given the complete picture, and AA had hoped to leave it obscured. That may

           not be a bright-line ethical breach, but it is certainly a shade of gray.

            The Record of Plaintiff’s Attorney’s Communications with the Witnesses

        16. Counsel for AA, Mr. Kolb, grossly – disingenuously and unethically –

           mischaracterizes the communications that the Plaintiff’s counsel has had with both

           Mr. Quintana and Ms. Cookson.

        17. Mr. Kolb points to Mr. Quintana’s bizarre claims in his deposition about Plaintiff’s

           counsel’s attempted communications with him as evidence of Plaintiff’s counsel’s

           impropriety, but this was the same polite script that the Plaintiff’s attorney used with

           all of the passengers, and when these communications were made, the Plaintiff had no

           reason to think there was anything special about Mr. Quintana.

        18. Mr. Kolb includes as an exhibit in his motion much of the deposition interaction

           between Plaintiff’s counsel and Quintana surrounding Plaintiff’s attempted

           communications, but he fails to include the first page, which is somewhat

           illuminating as the witness had an email printed and ready to read. (Exhibit E).

        19. Since, Mr. Quintana will be unavailable for trial the video deposition was taken with

           the intent that it would be shown to the jury. As such, Plaintiff’s attorney felt the

           need to spend an inordinate amount of time rehabilitating his own impugned character

           by reading the actual communications into the record and asking the witness where he

           felt threatened, where he felt accused of being a liar, etc. It is not quite clear why AA

           believes that this colloquy says more about Plaintiff’s counsel than it does about the

           witness.




                                                    5
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 6 of 17




        20. In his initial disclosures, Mr. Kolb “hid” Mr. Quintana among two other passengers

           who supposedly “witnessed the incident,” but when Plaintiff’s attorney finally

           contacted them, they had actually witnessed nothing. (Exhibits F, G)

        21. When called on it, Mr. Kolb initially amended his disclosures to include all 10

           business class passengers as individuals with knowledge, but removed from all the

           phrase, “witnessed the incident.” (Exhibit H)

        22. After Plaintiff’s outraged response and commitment to seek AA’s work product, Mr.

           Kolb walked it back and said only Quintana had given a statement; then, after

           additional persistent negotiations, AA finally provided additional contact information

           (though providing an email address with a typo). (Exhibit I)

        23. Plaintiff’s first overtures to Mr. Quintana were in the context of believing that he had

           likely seen just as much as the other two passengers identified by AA who “witnessed

           the incident” – that is, nothing. Plaintiff believed that AA was purposefully wasting

           his time, so was merely attempting to make contact with the passenger and cross him

           off the list.

        24. Plaintiff first reached out by text, with no response:

               Good afternoon Mr. Quintana, I am a lawyer who represents a
               fellow passenger from a flight you took from Miami to Mexico last
               year. AA has represented to us that they spoke with you and you
               gave them a statement about the incident involving a passenger
               getting kicked out of business class.

               We have reason to doubt that AA is being truthful.

               Could you please respond to the email I sent to ***********

               And just let us know if you remember the incident, you spoke with
               AA, and whether you have given them a statement.




                                                     6
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 7 of 17




               God Bless you if you do! (And bless you if you don’t…but please
               do) (Exhibit J)

        25. In deposition, Mr. Quintana said this text was very off-putting because of the

           reference to Mr. Clowdus as a fellow passenger…Quintana didn’t consider him to be

           one. (AA Motion for Sanctions, Exhibit B)

        26. When Plaintiff’s counsel sought to explore what this meant. Mr. Kolb coached the

           witness to just repeat “you have my answer.” (Id.)

        27. Plaintiff also wrote an email (to the wrong address) with no response.

        28. When Plaintiff asked for better contact information from AA, counsel was informed

           that Mr. Quintana had received his text because he had called AA about it.

        29. Shortly afterwards, Plaintiff received a short text from Mr. Quintana, providing his

           correct email address. (Exhibit J)

        30. Plaintiff re-sent his email, still believing that Quintana was a disinterested third-party,

           who probably saw nothing and just really didn’t want to get involved:

                Good afternoon Mr. Quintana,

               Thank you for clarifying that my prior email address for you was
               incorrect. It was the one given to me by AA.

               As you know by now, I am a lawyer for Troy Clowdus, a fellow
               passenger on a flight you took last year to Mexico. He was kicked
               off the flight and banned for life because he accidentally bumped
               the flight attendant with his bag while handing it to him. Knowing
               you have spoken with AA, I’m sure that is not the story they tell,
               but it is the unfortunate truth and it has been a long legal fight so
               far in search of justice.

               AA has informed us that you gave them a statement about what
               you remember of what occurred, and I have no desire to make your
               life miserable by subpoenaing you for a deposition. However, I
               just got off the phone with AA counsel, and they continue to
               maintain two positions: one, that your statement is very damaging
               to our client (having the advantage of knowing for sure what

                                                     7
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 8 of 17




               actually occurred, we doubt them on this point); and two, they
               refuse to share the statement with us – claiming that it is privileged
               work product. They are adamant: if the guy won’t respond to you,
               you’ll just have to subpoena him and depose him…We aren’t
               telling you what he told us.

               This, in our view, is a bullying tactic – everyone’s life would be
               much simpler if we all just shared the evidence we uncover, add it
               together, and figure out the sum. But unfortunately, litigation isn’t
               always a search for truth. We, frankly aren’t interested in deposing
               you because we don’t think that from your position in Seat 4A you
               could have observed much of value. And we would not be
               bothering you like this if AA had not put us in this position. But
               AA’s claims leave us little choice in the matter now.

               If you will give us a copy of everything you sent to AA and
               recount to us everything that you told AA about what you
               remembered from that morning, and then answer a couple of
               follow-up questions if we have them, we can contain our nuisance
               of you to this email interaction.

               Please let’s take this route. It will be cheaper for us (and we have
               already spent a lot on this case), and it will be far less of an
               inconvenience to you. And that is important to us as well.

               Best Regards,

               Will Woodrow (Exhibit K)

        31. The ways that both Quintana in his deposition and Mr. Kolb in his motion try to

           characterize this text and this email as threatening or accusing him of lying don’t hold

           water. In deposition, Mr. Quintana was making up a reason after the fact why his

           sympathies lay with AA because he didn’t want to admit that AA was responsible for

           much of his family’s provision.

        32. After no response to this email, except the short text response: “email received,”

           Plaintiff’s counsel sent two more texts before AA’s sudden reversal of direction and

           decision to depose Quintana:

               Ok will you respond please?

                                                   8
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 9 of 17




               I know this is an inconvenience and is not your problem and I
               don’t want to inconvenience you further by a deposition

               And:

               Please confirm at least that you intend to respond in the next day or
               so I do not spend time preparing a subpoena and securing a process
               server

               I’m not speaking empty words — I really don’t want to
               inconvenience you. However, AA has put us in this position by the
               games they are playing.

               Incidentally, AA told me yesterday that you called and spoke with
               them after you received our first text.

               That’s fine, and it’s fine if your recollection appears to be harmful
               to us. We’re not insecure about the truth.

               But we do need to speak with you one way or the other. And we
               really would like it to be the easy way.

               So please respond with at least an indication that you intend to
               respond shortly. (Exhibit J)

        33. After these communications, American Airlines deposed Quintana, and Plaintiff’s

           counsel sent one more communication after the deposition was over:

           Mr. Quintana,

               Thank you for appearing at deposition today. I’m sorry we got off
               on the wrong foot. These things can be stressful.
               I too enjoyed it by the end and appreciate your candor. While we
               disagree that what you saw was intentional, that’s ok. You saw
               what you saw and are entitled to your own interpretation.

               Much of your testimony today was, otherwise, very helpful
               because it directly contradicted some very important claims made
               by various people. So thank you for being willing to come
               forward, even if you thought it would be damaging to us. You
               seem like a good guy, so thank you.

               Could you please forward me those communications that you had
               with American Airlines prior to today so that we aren’t surprised
               by anything at trial?

                                                   9
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 10 of 17




                I’d really appreciate it, and good luck in your travels.

                Will (Exhibit L)


         34. Needless to say, Plaintiff’s counsel was being overly gracious in the substance of this

            communication, basing his tone off of Quintana’s rather strange comment to him after

            the deposition had concluded about how much he enjoyed the deposition. Quintana

            never responded to this email. Plaintiff’s counsel was left to speculate that

            Quintana’s comment at the end had been a subtle way of gloating that he thought he

            had bested Plaintiff’s counsel.

         35. After the subsequent investigation revealed the likelihood of the compromise to Mr.

            Quintana’s impartiality, Plaintiff challenged AA about it and was met with silence

            and the refusal to give over its communications with Quintana (subject of a motion to

            compel soon to be filed). Mr. Quintana similarly left for Mexico after dodging a

            process server and without providing the communications that were asked for.

         36. Quintana’s mother was the only remaining means to establish Quintana’s relationship

            with AA. She has now been served three times. She has been in communication with

            AA. (Exhibit M). Each time she has been served has been more difficult and has

            taken a longer stakeout by the process server.

         37. On the first subpoena, Plaintiff’s attorney noticed a date well in advance because Ms.

            Cookson refused to communicate.

         38. When she was finally served, she called and spoke with Plaintiff’s counsel and said

            she would be out of the country on that date. Plaintiff’s counsel said not to worry

            about it, asked what date would be convenient for her and said he would issue a new


                                                    10
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 11 of 17




            subpoena, just please not to give the process server a hard time (which she did. It

            necessitated another stakeout.) (Exhibit N)

         39. Mr. Kolb knew at the time, more than 10 days in advance, that the Plaintiff had

            accommodated Ms. Cookson and rescheduled the April 25 deposition. (Exhibit O).

            His allegations now to the contrary as some evidence of Plaintiff’s bad behavior are

            dishonest and tiresome.

         40. The second subpoena for the May 2 deposition was cancelled due to Mr. Kolb’s bad

            behavior. On the Friday afternoon before the Monday morning deposition, the case

            was dismissed with leave to amend. (See DE#32). The Plaintiff’s attorney asked

            four times over the weekend if Mr. Kolb was of the mind that discovery should

            continue, even though the underlying action was temporarily closed. His only

            response was to bluster about his Rule 11 motion. Finally, since Mr. Kolb would not

            confirm that he intended to show up Monday morning (or even that he agreed there

            was a legal basis to proceed), Plaintiff’s attorney’s fifth attempted communication

            with Mr. Kolb was to cancel the deposition “since he had not responded.” (Exhibits

            P, Q). Tuesday afternoon, Mr. Kolb resurfaced, and had the nerve to demand that his

            own depositions that week would move forward. (Exhibit R). As Plaintiff’s attorney

            had rescheduled his week, he declined. (Exhibit R).

         41. Plaintiff’s attorney had been unable to communicate whatsoever with Ms. Cookson

            since the phone conversation where he agreed to reschedule the deposition. As such

            there was little faith that she would have shown up for that Monday morning

            deposition in any event, especially without a zoom link and no email address at that

            point to send it to.



                                                   11
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 12 of 17




         42. On Monday, after the deposition was scheduled to be taken, and still not having heard

            a word from Ms. Cookson, Plaintiff sent this email:

                Ms. Cookson,

                You were scheduled to appear for deposition this morning, and I
                have not been able to reach you all week. Your phone has been
                off. I have left you multiple texts and you have not responded.

                Fortunately, I have had cause to reschedule this deposition, so I
                released you from the obligation.

                However, the complete lack of response and cooperation from you
                leads me to believe that you did not intend to obey the subpoena.
                Please do not make that mistake.

                I have no desire to cause you legal trouble. However, we believe
                that your son was less than truthful in his deposition; it has
                damaged our case; and we would like to know why. You are
                required by the court to appear for deposition as commanded. You
                risk being held in contempt by the Court if you do not.

                Though he hid this from us, our investigation has led us to believe
                that you receive extensive benefits from American Airlines, which
                may explain why your son claimed to have witnessed events which
                subsequent videos we have taken show that he could not have seen
                from where he was seated. All I can say is that we regret to
                inconvenience you, but your son brought this on you, not us.

                When I reissue the subpoena, I would like to offer you the
                convenience and the courtesy of appearing remotely by Zoom.
                The fact that you did not respond this last time makes me think that
                I am going to have to compel you to show up at a law office.

                I am going to reissue you a subpoena probably for this Friday or
                next Monday. If you would like to appear remotely by Zoom, you
                need to contact me promptly before I issue it, and let me know that
                you intend to cooperate.

                I don’t know how familiar you are with the US legal system but I
                would encourage you to do some research on Google. You do not
                want to ignore a subpoena…nothing good comes of it.

                We have no quarrel with you. I’m sure you are a very nice lady.
                You have no interest in our lawsuit and we have no interest in you.

                                                   12
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 13 of 17




                If you just show up and truthfully answer our questions, you have
                no reason to worry that it will be an unpleasant experience. Unlike
                some lawyers, I am a fundamentally decent person, and I don’t
                mistreat people.

                There are three categories of questions that we are going to ask you
                about: your benefits with AA, being the surviving spouse of an
                employee, and if those include flight benefits. The whereabouts of
                your son, the circumstances of him agreeing to provide testimony
                against our client, and his communications with you on the subject.
                And any communications that AA has had with you about our
                lawsuit. You are also required to bring with you the documents
                that the subpoena describes. If you wish to appear remotely, then
                you must commit that you will take steps to ensure that I receive
                those documents electronically on the morning of the deposition.

                Please respond promptly to this email.

                Sincerely,

                Will Woodrow (Exhibit S).

         43. In response, Ms. Cookson replied that she “had every intention to show up.”

         44. Plaintiff’s counsel replied:

                  Ms. Cookson,

                You would have had no way to appear without me sending you the
                deposition link. Your phone has been off all weekend. Without
                responding to any of my texts, I would have had no way to do so.
                I’ve just today had to do additional research to find your email
                address.

                If you respond promptly and cooperatively, I am happy to let you
                appear remotely, but I need some evidence of good faith. (Exhibit
                T).

         45. Ms. Cookson did not respond, so Plaintiff’s counsel sent another email:

                Ms. Cookson, I have (sic) having a new subpoena sent out
                tomorrow. Should I put the address of the court reporters office or
                would you like to appear by zoom? If I allow you to appear by
                zoom, will you commit to sending me the documents described in
                the subpoena by email before the start of the deposition?



                                                   13
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 14 of 17




                I’m happy to work with you but I have to know that you are out
                there…

                 If I don’t hear back, I will have to default into the reporters office

                Regards,

                Will Woodrow (Exhibit U)

         46. Ms. Cookson still did not respond. The final communication that the Plaintiff’s

            attorney sent to Ms. Cookson before Mr. Kolb filed the present motion is this:

                Ms. Cookson,

                This is the third email that I have sent you since your terse
                response that you “had every intention to appear.”

                I have tried to explain to you that my efforts to communicate have
                been for your convenience. I would like you to have the
                opportunity to take this deposition on a day of your choice, from
                your couch, with a cup of coffee, and then go on with your day.

                Your lack of response to any of my emails is forcing me to require
                you to drive across town to the office of the court reporter, with the
                documents that I have asked for printed out, on a day of my choice.

                Stone-walling me is only inconveniencing yourself, and honestly, I
                have no desire to do that.

                I will re-issue a new subpoena for next Friday after lunch. If I
                don’t hear from you by then it will have the remote address on it.

                Please get back to me before then if you would like a different
                arrangement or a different day next week. If I issue it for Friday
                and you later tell me that Friday is no good, I’m not going to
                cancel the subpoena. This is your opportunity right now to
                communicate with me. So please do

                Will Woodrow (Exhibit V)

         47. Plaintiff has re-served a subpoena to Ms. Cookson for this Friday, though she made it

            the most difficult service yet to complete, necessitating another costly stakeout. She

            has still not responded in any way to any communications since her terse claim that

                                                     14
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 15 of 17




            “she had every intention to be there,” and Plaintiff’s only further communication has

            been to send her the Proof of Service for the most recent subpoena. (Exhibit W). In

            all likelihood AA knows whether she intends to show up for her deposition on Friday;

            Plaintiff does not.

         48. The reasonable indication from her silence is that she intends to ignore the subpoena.

            As such, the Plaintiff’s decision to notice the deposition for the reporter’s office is to

            remove any potential excuses that she (or AA as her quasi-representative) might make

            to the court, such as internet problems, not receiving the link, not being tech savvy,

            not being able to make a pdf, or anything else that might plausibly explain her not

            showing up or producing the documents in her possession.

         49. If she responds before Friday, Plaintiff still has no objection to allowing her to take

            the deposition remotely – as Plaintiff’s attorney has even yesterday reaffirmed to AA,

            since Ms. Cookson seems to be in constant communication with Mr. Kolb.

         50. AA’s concern for Ms. Cookson’s convenience did not extend to taking the Plaintiff

            up on this proposal of mutual cooperation. Mr. Kolb demurred, saying he thought she

            was getting her own counsel now. (Exhibit X). Would that fact prevent him from

            calling her and obtaining confirmation that she would appear with the requested

            documents so that she could have the convenience of appearing from home? Of

            course it would not. Which makes Mr. Kolb’s cries of outrage in this motion seem

            particularly insincere.

         51. As to Mr. Kolb’s request for a special master, a simple review of even the deposition

            excerpt that he included as his own exhibit shows improper objections and coaching

            of the witness. Plaintiff additionally attaches the entire deposition for the Court’s



                                                     15
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 16 of 17




             perusal if it so desires to do so. (Exhibit Y). Mr. Kolb’s bad behavior in deposition,

             which the Court noticed and addressed in our last hearing together, is the only

             possible reason that a special master may be needed here; but Plaintiff’s counsel has

             dealt with his type before and is comfortable proceeding alone.

          52. Defendant has, at a late hour, supplemented his motion alleging that Plaintiff’s

             attorney scrawled “The judge is watching.” on the front of the latest subpoena. That

             was apparently done by the process server (without Plaintiff’s attorney’s knowledge)

             after being forced to stake out her apartment for hours for the third time when she

             refused to answer the door. He finally established she was there and left drop service.

             Not particularly threatening, but also not Plaintiff’s attorney’s style. (Exhibit Z).

          53. For the foregoing reasons and explanations, the Plaintiff asks that Defendant’s motion

             be denied and costs assessed to the Plaintiff for being forced to defend against this

             spurious attack.

   Respectfully Submitted,

     /s/ William T. Woodrow III
   ____________________________

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                                                     16
Case 1:21-cv-23155-KMM Document 37 Entered on FLSD Docket 05/10/2022 Page 17 of 17




                                  CERTIFICATE OF SERVICE

          The undersigned certifies that a copy of the foregoing document was served upon the
   following attorneys of record by CM/ECF on this 10th day of May, 2022.


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